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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )        Case No. 8:05CR26
                                                         )
                                      Plaintiff,         )
                                                         )
       vs.                                               )   ORDER ON SENTENCING SCHEDULE
                                                         )
IGNACIO CARRERA-MARINO,                                  )
                                                         )
                                      Defendant.         )

       Pursuant to the Local Rules of Practice (see NECrimR. 32.1(b)), and the sentencing practices of this
court more generally, and to set a schedule and a procedure for sentencing before the sentencing judge,

       IT IS ORDERED the Motion to continue [79] is granted and the following deadlines and procedures are
rescheduled for this case:

1.     April 28, 2005: Counsel's respective versions of the offense(s) to the probation office;

2.     May 19, 2005: Financial information, restitution proposal and any chemical dependency/mental health
       evaluation to the probation office by counsel;

3.     June 2, 2005: Initial presentence report to counsel by the probation office. Defense counsel will insure
       that (a) the defendant has had an opportunity to read the initial PSR, or, if the defendant is not fluent in
       English, that an interpreter has read it to the defendant, and (b) the defendant has had an opportunity to
       voice any objections to defense counsel, before defense counsel submits objections to the initial PSR;

4.     June 30, 2005: Objections by counsel to the initial presentence report;

5.     July 11, 2005: Probation office's submission to the judge and counsel of initial or revised presentence
       report with changes, if any, responsive to counsels’ objections, and, if needed, an addendum explaining
       the probation officer’s position regarding any objections to the presentence report previously submitted
       by counsel;

6.     July 18, 2005:
              (a) Any proposals to the probation office for community service, community confinement,
              intermittent confinement or home detention;

              (b) Motions to the court:
                    (1) for departure under the guidelines (including, but not limited to, motions by the
                    government) ; and
                    (2) for deviation or variance from the guidelines as allowed by the Supreme Court’s
                    decision in United States v. Booker, 125 S. Ct. 738 (2005) or its progeny;

              (c) Counsel's filing and serving on all other parties and the probation officer a written statement
              of position respecting each of the unresolved objections to the presentence report, including the
              specific nature of each objection to the presentence report.
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               (d) If evidence is to be offered in support of or in opposition to a motion under subparagraph (b)
               of this paragraph or in support of or in opposition to an objection under subparagraph (c) of this
               paragraph 6, it must be: by affidavit, letter, report or other document attached to the statement of
               position or by oral testimony at the sentencing hearing. If oral testimony is desired, a request
               must be made in the statement of position and the statement of position must reveal (1) the nature
               of the expected testimony, (2) the necessity for oral testimony, instead of documentary evidence,
               such as affidavits, (3) the identity of each proposed witness, and (4) the length of time anticipated
               for presentation of the direct examination of the witness or witnesses. If a request for oral or
               documentary evidence is made by one party but not by the adverse party, the adverse party within
               five working days thereafter may make a responsive request for oral or documentary evidence,
               setting out details in the same manner as required by this paragraph 6(d).

               (e) Motions for departure should be supported by a brief that explains why the departure from
               the guideline sentencing range is justified by normal guideline departure theory. Motions for
               deviation or variance from the guidelines as allowed under Booker or its progeny should be
               supported by a brief that explains why a sentence other than that called for under the guidelines is
               justified by a principle of law that is different in kind or degree from the normal principles of law
               applied under a strict application of the guidelines.

               (f) It is expected that any objection first raised in a party’s statement of position will be
               addressed at the judge’s discretion, and that no consideration will be given to any sentencing
               factor first raised after the filing of the written statement.

7.     July 25, 2005: Judge's notice to counsel of rulings, tentative findings, whether oral testimony is to be
       permitted, and how objections to tentative findings may be made; and

8.     August 26, 2005 at 8:30 a.m.: Sentencing before Judge Smith Camp.

The probation officer is directed to provide copies of any sentencing recommendation to counsel for the
government and counsel for the defendant at the time the recommendation is submitted to the sentencing judge.

The dates in paragraphs 3 and 4 of this order may be altered by written notice to counsel and the judge by the
probation office.

       DATED this 23rd day of June, 2005.

                                                     BY THE COURT:

                                                     s/ Laurie Smith Camp
                                                     United States District Judge
